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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 17-236V
                                       Filed: August 8, 2024
                                           UNPUBLISHED


    MATTHEW RODELA and CASANDRA                                 Special Master Horner
    HOGAN as legal representatives of the
    estate of V.S.R.,

                          Petitioner,
    v.

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                         Respondent.


Curtis R. Webb, Monmouth, OR, for petitioner.
Lynn Christina Schlie, U.S. Department of Justice, Washington, DC, for respondent.

                                 DECISION AWARDING DAMAGES 1

        On February 17, 2017, Matthew Rodela and Casandra Hogan (“petitioners”) filed
a petition for compensation under the National Vaccine Injury Compensation Program,
42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine Act”), on behalf of their deceased
daughter, V.S.R. (ECF No. 1.) Petitioners allege that the Measles, Mumps, Rubella
(“MMR”) vaccination that V.S.R. received on February 20, 2015 caused her to suffer a
Table Injury of encephalitis that ultimately resulted in her death. (Id.)

       On April 5, 2024, a ruling on entitlement was issued, finding petitioners entitled to
compensation for a Table Injury of encephalitis. (ECF No. 125.) On August 8, 2024,
respondent filed a proffer on award of compensation (“Proffer”) indicating petitioner
should be awarded $310,000.00, including $250,000.00 representing “compensation for
the statutory benefit for a vaccine-related death,” and $60,000.00 representing
1
  Because this document contains a reasoned explanation for the action taken in this case, it must be
made publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic
Government Services). This means the document will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
    National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
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“compensation for past pain and suffering.” (ECF No. 132.) In the Proffer, respondent
represented that petitioner agrees with the proffered award. Id. Based on the record as
a whole, I find that petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award petitioners a lump
sum payment of $310,000.00, representing $250,000.00 in compensation for the
statutory benefit for a vaccine-related death and $60,000.00 in compensation for
past pain and suffering, in the form of a check payable to petitioners. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3


IT IS SO ORDERED.


                                                         s/Daniel T. Horner
                                                         Daniel T. Horner
                                                         Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                   )
    MATTHEW RODELA and CASANDRA                    )
    HOGAN as legal representatives of the          )
    estate of V.S.R.,                              )
                                                   )   No. 17-236V
                 Petitioners,                      )   Special Master Horner
                                                   )   ECF
    v.                                             )
                                                   )
    SECRETARY OF HEALTH AND HUMAN                  )
    SERVICES,                                      )
                                                   )
                 Respondent.                       )
                                                   )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

         On February 17, 2017, Matthew Rodela and Casandra Hogan (“petitioners”) filed a

petition for compensation under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C.

§§ 300aa-1 to -34 (“Vaccine Act” or “Act”), on behalf of their deceased child, V.S.R., alleging

that V.S.R. suffered an encephalitis and subsequently died following the administration of

Hepatitis A; Haemophilus influenzae type B; pneumococcal conjugate; measles, mumps, and

rubella; and varicella vaccines she received on February 20, 2015. Petition at 1-2. On

November 30, 2018, respondent filed his Rule 4(c) Report recommending that entitlement to

compensation be denied. ECF No. 48. On April 5, 2024, Special Master Horner issued a Ruling

on Entitlement finding petitioners entitled to compensation. 1 ECF No. 125.




1
 Respondent has no objection to the amount of the proffered award of damages set forth herein.
Assuming the Special Master issues a damages decision in conformity with this proffer,
respondent waives his right to seek review of such damages decision. However, respondent
reserves his right, pursuant to 42 U.S.C. § 300aa-12(e), to seek review of Special Master
Horner’s April 5, 2024, entitlement decision.
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I.       Items of Compensation

         Based upon the evidence of record, respondent proffers that petitioners should be

awarded the following, and requests that the Special Master’s decision and the Court’s judgment

award:

            a. a lump sum payment of $250,000.00, which represents compensation for the
               statutory benefit for a vaccine-related death, and

            b. a lump sum payment of $60,000.00, which represents compensation for past pain
               and suffering.

         These amounts represent all elements of compensation to which petitioners are entitled

under 42 U.S.C. § 300aa-15(a)(2) and (a)(4). Petitioners agree.

II.      Form of the Award

         Respondent recommends that petitioners be awarded a lump sum payment of

$310,000.00, in the form of a check payable to petitioners, Matthew Rodela and Casandra

Hogan, as personal representatives of the estate of V.S.R.2 Petitioners agree.


                                                     Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Director
                                                     Torts Branch, Civil Division

                                                     HEATHER L. PEARLMAN
                                                     Deputy Director
                                                     Torts Branch, Civil Division



2
  If for some reason petitioners are not authorized by a court of competent jurisdiction to serve
as the personal representatives of the estate of V.S.R. at the time a payment pursuant to this
Proffer is to be made, then any such payment shall be paid to the party or parties appointed by a
court of competent jurisdiction to serve as personal representative(s) of the estate of V.S.R. upon
submission of written documentation of such appointment to the Secretary.
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                                          TRACI R. PATTON
                                          Assistant Director
                                          Torts Branch, Civil Division

                                          /s/ Lynn C. Schlie
                                          LYNN C. SCHLIE
                                          Trial Attorney
                                          Torts Branch, Civil Division
                                          U.S. Department of Justice
                                          P.O. Box 146 Benjamin Franklin Station
                                          Washington D.C. 20044-0146
                                          Tel: (202) 616-3667
                                          E-mail: lynn.schlie@usdoj.gov
Dated: August 8, 2024




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